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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )
                                      )
           v.                         )        No. S2-4:05 CR 306 JCH
                                      )                           DDN
RICHARD E. BUNDY,                     )
                                      )
                  Defendant.          )

                                 MEMORANDUM
     This action is before the court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge pursuant to 28 U.S.C. § 636(b). An evidentiary hearing was set for
March 31, 2006.
     On October 13, 2005, the undersigned filed an Order and Recommendation
with respect to defendant Bundy's pretrial motions.       Defendant Bundy has
filed no further pretrial motions directed to the second superseding
indictment, and counsel for defendant filed a written waiver of his right
to file motions and to participate in an evidentiary hearing. On March 31,
2006, defendant Bundy appeared in open court, with counsel, and advised the
undersigned that he had decided not to raise any issues by way of pretrial
motions.   He thereupon waived his rights to file pretrial motions and to
have a pretrial hearing.




                                    DAVID D. NOCE
                                    UNITED STATES MAGISTRATE JUDGE



Signed on March 31, 2006.
